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                  EXHIBIT B-110
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                                                                                    FILEDINOFFICE


                   IN THE SUPERIOR COURT OF FULTON COUNTY

                                    STATE OF GEORGIA


INRE:                                        )
SPECIAL PURPOSE GRAND JURY                   )       2022-EX-000024
                                             )
Witness:                                     )       Judge Robert C. I. McBurney
Jim Penrose                                  )


   CERTIFICATE OF MATERIAL WITNESS PURSUANT TO UNIFORM ACT TO
   SECURE THE ATTENDANCE OF WITNESSES FROM WITHOUT THE STATE,
     CODIFIED IN THE STATE OF GEORGIA AS O.C.G.A. § 24-13-90 ET SEO.

       Upon the petition of Fani T. Willis, District Attorney, Atlanta Judicial Circuit, pursuant to

the Uniform Act to Secure the Attendance of Witnesses from Without the State, codified at

O.C.G.A. § 24-13-90 et seq., the Court issues the following Certificate under seal of this Court,

and fmiher says as follows:

       1. A Special Purpose Grand Jury investigation commenced in Fulton County, Georgia,

          by order of this Court on May 2, 2022. See Order Impaneling Special Purpose Grand

          Jury Pursuant to O.C.G.A. § 15-12-100, et seq., "Exhibit A". The Special Purpose

          Grand Jury is authorized to investigate any and all facts and circumstances relating

          directly or indirectly to possible attempts to disrupt the lawful administration of the

          2020 elections in the State of Georgia. See Letter Requesting Special Purpose Grand

          Jury, "Exhibit B".

       2. While Georgia law authorizes special purpose grand juries to conduct both civil and

          criminal investigations, the Special Purpose Grand Jury's inv~stigation is criminal in
                                                                          i
          nature in that it was requested for the purpose of investigating' criminal disruptions
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          related to the 2020 elections in Georgia, and the Special Purpose Grand Jury is
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    authorized to make recommendations concerning criminal proJecution. Further, the
                                                                      !

    authority for a special purpose grand jury to conduct a criminal investigation has been

    upheld by the Supreme Court of Georgia. See State v. Lampl, 296 Ga. 892 (2015).

    Accordingly, the provisions of the Uniform Act to Secure the Attendance of

    Witnesses from Without the State apply pursuant to O.C.G.A. § 24-13-92 et seq.

 3. Based on the representations made by the State in the attached "Petition for

    Certification of Need for Testimony Before Special Purpose Grand Jury Pursuant to

    O.C.G.A. § 24-13-90 et seq.", the Court finds that Jim Penrose, born August 17,

    1978, (hereinafter, "the Witness") is a necessary and material witness to the Special

    Purpose Grand Jury's investigation. The Court further finds that the Witness currently

    resides in Prince George's County, Maryland.

 4. Based on the representations made by the State in the attached "Petition for

    Certification of Need for Testimony Before Special Purpose Grand Jury Pursuant to

    O.C.G.A. § 24-13-90 et seq.", the Court finds that the Witness is a cyber

    investigations, operations, and forensics consultant who engaged with Sydney Powell

    and others known to be associated with the Trump Campaign in late 2020 and early

    2021.

 5. Based on the representations made by the State in the attached "Petition for

    Certification of Need for Testimony Before Special Purpose Grand Jury Pursuant to

    O.C.G.A. § 24-13-90 et seq.", the Court finds that based on publicly reported

    information, the Witness was among the attendees at a January 5, 2021, meeting at
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    The Willard Hotel in Washington, D.C., which was also attencled by Rudolph
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                                                                  i
    Giuliani, John Eastman, and other individuals involved in the :multi-state, coordinated
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    efforts to influence the results of the November 2020 election i~ Georgia and

    elsewhere.

 6. Based on the representations made by the State in the attached "Petition for

    Certification of Need for Testimony Before Special Purpose Grand Jury Pursuant to

    O.C.G.A § 24-13-90 et seq.", the Court finds that based on records reviewed by the

    District Attorney, the Witness had multiple communications with Sydney Powell,

    representatives of Sullivan Strickler including COO Paul Maggio, and others,

    between at least December 2020 and April 2021, concerning an agreement between

    Sullivan Strickler and others to copy electronic data from voting system equipment in

    Coffee County, Georgia, Antrim County, Michigan, and Clark County, Nevada.

 7. Based on the representations made by the State in the attached "Petition for

    Certification of Need for Testimony Before Special Purpose Grand Jury Pursuant to

    O.C.G.A. § 24-13-90 et seq.", the Court finds that based on records reviewed by the

    District Attorney, the Witness personally accessed electronic data in the possession of

    Sullivan Strickler, pursuant to the above-referenced agreement, that was copied from

    voting system equipment in Coffee County, Georgia.

 8. Based on the representations made by the State in the attached "Petition for

    Certification of Need for Testimony Before Special Purpose Grand Jury Pursuant to

    O.C.G.A. § 24-13-90 et seq.", the Court finds that based on records reviewed by the
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    District Attorney, in April 2021, the Witness arranged for the delivery of a hard drive
                                                                    i
    containing electronic data that was copied from voting system equipment to
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    individuals involved in the multi-state, coordinated efforts to influence the results of
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                                                                    l
    the November 2020 election in Georgia and elsewhere.            i
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 9. Based on the representations made by the State in the attached r'Petition for
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    Certification of Need for Testimony Before Special Purpose Grand Jury Pursuant to

    O.C.G.A. § 24-13-90 et seq.", the Court finds that the Witness, based on the

    information set forth above, is a necessary and material witness. The Witness

    possesses unique knowledge concerning communications between himself and other

    known and unknown individuals involved in the multi-state, coordinated efforts to

    influence the results of the November 2020 election in Georgia and elsewhere.

    Finally, the Witness's anticipated testimony is essential in that it is likely to reveal

    additional sources of information regarding the subject of this investigation.

 10. The testimony of the Witness will not be cumulative of any other evidence in this

    matter.

 11. The Witness will be required to be in attendance and testify before the Special

    Purpose Grand Jury on Tuesday, November 29, 2022, at 9:00 a.m, at the Superior

    Court of Fulton County, Fulton County Courthouse, 136 Pryor Street, 3rd Floor,

    Atlanta, Georgia 30303. The Court notes that the District Attorney reasonably

    anticipates that the Witness's testimony will not exceed one day.

 12. The Office of the Fulton County District Attorney, in and for the State of Georgia,

    will pay all reasonable and necessary travel expenses and witness fees required to

    secure the Witness's attendance and testimony, in accordance with O.C.G.A. §24-13-

    90 et seq.

 13. The Witness shall be given protection from arrest and from service of civil or

    criminal process, both within this State and in any other state through which the

    Witness may be required to pass in the ordinary course of travel, for any matters
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           which arose before the Witness's entrance into this State and other states, while
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           traveling to and from this Court for the purpose of testifying for this case.

       14. The State of Georgia is a participant in a reciprocal program providing for the

           securing of witnesses to testify in foreign jurisdictions which likewise provide for
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           such methods of securing witnesses to testify in their courts.

       15. This Certificate is made for the purpose of being presented to a judge of the Circuit

           Court of Prince George's County, Maryland, by the State's Attorney for Prince

           George's County, Maryland, or her duly authorized representative, who is proceeding

           at the request and on behalf of the Office of the Fulton County District Attorney.

      WITNESS MY HAND AND SEAL as a judge of the Superior Court of Fulton County,

Georgia,

      !his the   2     day of October, 2022.




                                                      Hon. Rober            c urney
                                                      Superior Court of Fulton County
                                                      Atlanta Judicial Circuit
                                                      State of Georgia
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                     Exhibit A
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IN RE: REQUEST FOR
       SPECIAL PURJPOSE
           GRAN"D JURY

                  ORDER APPROVING REQUEST FOR SPECIAL PURPOSE
                  GRAND JURY PURSUA1•
                                    1lT TO O.C.G.A. ~15-12-100,et seQ.




       The District Attorney for the Atlanta Judicial Circuit submitted to the judges of the
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Superior Cami of Fulton County a request to impanel a special purpose jury for the purposes set

forth in that request. This request was considered and approved by a majority of the total

number of the judges of this Court, as required by O.C.G.A. §15-12-IO0(b).

           IT [S THEREFORE ORDERED that a special purpose grand jury be drawn and

impaneled to serve as provided in O.C.G.A. § 15-12,.62.1,15-12-67, and 15..:12-100,to

commence on May 2, 2022, and continuing for a period not to exceed 12 months. Such period

shall not include any time periods when the supervising judge determines that the special

purpose grand jury cannot meet for safety or other reasons, or any time periods when normal

court ~perations are suspended by order of the Supreme Court of Georgia or ~e Chief Judge of
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the suterior Court. The special purpose grand jury shall be authorized to in;estigate any and all
      ,,




facts and circumstances relating directly or indirectly to alleged violations of the laws of the

State of Georgia, as set forth in the request of the District Attorney referenced herein above.

       1
           Pursuant to O.C.G.A. § 15-12-10l(a), the Honorable Robert C. I. McBurney is hereby

assigned to supervise and assist the special purpose grand jury, and shal,l charge said special

purpose grand jury and receive its reports as provided by law.
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       This authorization .shall include tht: investigation of any overt acts or predicate acts

relating to the subject of the special purpose grandju1y's investigative purp ose. The special  1
                                                                                                'I
purpose grand jury, when making its presentments and reports, pursuant to O.C.G.A. §§ 15-12-

71 and 15-12-101, may make recommendations concerning criminal prosecution as it shall see

fit. Furthermore, the provisions of O.C.G.A. § 15-12-83 shall apply.

       This Court also notes that the appointment of a special purpose grand jury will permit the

time, efforts, and attention of the regular grandjury(ies) impaneled in this Circuit to continue to

be devoted to the consideration of the backlog of ctiminal matters that has accumulated as a

result ofthe COVID-19 Pandemic.

        IT IS FURTHER 0           ~DJh_at this Order shall be filed in the Office of the Clerk of
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theSuperior Court ofFulto      Cou~\                   \       (\

        so OWE~D, TH                         ~l_c....,..k_~.,___,::,,-..,.,--_'--'__._;
                                                                                --·'      2022.




                                CHRISTOPHER S. BRASHER';'GHIEF mDGE
                                Superior Court of Fulton County
                                Atlanta Judicial Circuit
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                         Exhibit B
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                       OFFICE OF THE FULTON COUNTYDISTRICTATTORNEY
                                      ATLANTAJUDICLAL
                                                   CIRCUIT                       !
                                   136 PRYORSTREETSW, 3RD FLOOR                  I
                                       ATLANTA,GEORGIA.30303                     i
ffe;;11Jr'(»f./;;;,j                                                             TELEPHONE 404-612-4639
District Attorney
                                                                                 I



      The Honorable Christopher S. Brasher
                                                                                tD2-2-·-E.X- DODD!?
      Chief Judge, Fulton County Superior Court                                      FILED IN OFFICE
      Fulton County Courthouse                                                                            J)
      185 c'entral
           ,,      Avenue SW, Suite T-8905
      Atlanta, Georgia 30303

      January 20, 2022

      Dear Chief Judge Brasher:

     I hope this letter finds you well and jn good spirits. Please be advised that the District Attorney's
     Office has received information indicating a reasonable probability that th~ State of Georgia's
     administration of elections in 2020, includi..t1.g the State's election of the President of the United
     States, was subject to possible criminal disruptions. Our office has also learned that individuals
     associated with these disruptions have contacted other agencies ernpowere~ to investigate this
     matter, :including the Georgia Secretary of State, the Georgia Attorney General, and the United
     States Attorney's Office for the NorthernDistrict of Georgia,leaving this office as the sole
     agency>iwith  jurisdiction that is not a potential witness to conduct related to the matter. As a
     result, our office has opened an investigationinto any coordinated attempts to unlawfully alter
     the outcome of the 2020 elections in this state.

      We have made efforts to interview multiple witnesses and gather evidence, and a significant
     number.ofwitnesses and prospective witnesses haverefusedto cooperate with the investigation
     absent aisubpoena requiring their testimony. By way of example, Georgia Secretary of State
     Brad Raffensperger, an essential witness to the investigation, has indicated that he will not
     participate in an interview or otherwise offer evidence until he is presented ~ith a subpoena by
     my office. Please see Exhibit A, attached to this letter.                     •
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     Therefore, I am hereby requesting, as the elected District Attorney for Fulton County, pursuant
     to O.C.G.A.§ 15-12-100et. seq., that a special purposegrandjury be impaneled for the purpose
     of investigating the facts and circumstances relating directly or indirectly to possibleattempts to
     disrupt the lawful administration of the 2020 elections in the State of Georgia. Specifically, a
     special puipose grand jury, which will not have the authority to return an indictment but may
     make recommendations concerning criminal prosecution as it shall see fit, is needed for three
     reasons: first, a special purpose grand jury can be impaneled by the Court for any time period
     required in order to accomplish its investigation, which will likely exceed a ~ormal grand jury
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           Case 1:23-cv-03721-SCJ Document 1-121 Filed 08/21/23 Page 12 of 12




     term; second, the special purpose grand jury would be empowered to rey1ew I
                                                                                   this matter and this
     matter only, with an investigatory focus appropriate to the complexity of\the facts and
     circumstances involved; and third, the sitting grand jury would not be required to attempt to
     address this matter in addition to their normal duties.                    \

     Additionally, I am requesting that, pursuant to O.C.G.A. § 15-12-101, a Fulton CountySuperior
     Court Judge be assigned to assist and supervise the special purpose grand jury in carrying out its
     investigation and duties.

     I have attached a proposed order impaneling the special purpose grand jury for the consideration
     of the Court.

   \~espectfult,
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'~Etistrict   Attorney, Atlanta Judicial Circuit

     Exhibit A: Transcript of October 31, 2021 episode of }.;feetthe Press on NBC News at 26:04
     (video archived at https://vvvvvv.youtube.com/watch?v=B7lcBRPgt9k)
     Exhibit B: Proposed Order

     cc:
     TheHonorable Kimberly M. EsmondAdams
     The Honorable Jane C. Barwick
     The Ho~orable Rachelle Carnesdale
     The Honorable Thomas A. Cox, Jr.
     The Honorable Eric Dunaway
     The Honorable Charles M. Eaton, Jr.
     The Honqrable Belinda E. Edwards
     The Hon~rable Kelly Lee Ellerbe
     TheHonorableKevin M. Farmer
     The Hondrable Ural Glanville
     The Honotable Shakura L. Ingram
    The Honorable
            I
                 Rachel R. Krause
    The Honorable Melynee Leftridge
    The Honorable Robert C.I. McBumey
    The Honorable Hemy M. Newkirk
    The Honor~ble Emily K. Richardson
    The Honori:i.bleCraig L. Schwall, Sr.
    The HonorablePaige Reese Whitaker
    The HonorableShennela J. \.Vi1liams
    Fulton County Clerk of Superior Court ,Cathelene ,:Tina" Robinson
